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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA

Vv. CASE NO. 8:18-cr-537-T-35JSS
JUSTIN RUTH |

PLEA AGREEMENT

Pursuant to Fed. R. Crim. P. 11(c), the United States of America, by
Maria Chapa Lopez, United States Attorney for the Middle District of
Florida, and the defendant, Justin Ruth, and the attorney for the defendant,

Wes Trombley, mutually agree as follows:

A.  Particularized Terms

1. Count Pleading To
The defendant shall enter a plea of guilty to Count One of the
Superseding Indictment. Count One charges the defendant with being a felon
in possession of a firearm, in violation of 18 U.S.C. §§ 922(g) and 924(a)(2).

2. Maximum Penalties

Count One carries a maximum sentence of 10 years’
imprisonment, a fine not to exceed to $250,000, a term of supervised release of
not more than 3 years, and a special assessment of $100 per felony count for

individuals. With respect to certain offenses, the Court shall order the

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defendant to make restitution to any victim of the offenses, and with respect to
other offenses, the Court may order the defendant to make restitution to any
victim of the offenses, or to the community, as set forth below.

3, Elements of the Offense

The defendant acknowledges understanding the nature and.
elements of the offense with which defendant has been charged and to which

defendant is pleading guilty. The elements of Count One are:

First: The defendant knowingly possessed a firearm or

ammunition in or affecting interstate or foreign commerce;

and
Second: Before possessing the firearm or ammunition, the

defendant had been convicted of a felony offense, a crime
punishable by imprisonment for more than one year. |

Third: The defendant knew that he had previously been convicted :
of a felony offense, a crime punishable by imprisonment |
for more than one year.

4A, Counts Dismissed.

At the time of sentencing, the remaining count against the

defendant, Count Two, will be dismissed pursuant to Fed. R. Crim. P.

L1(c)(1)(A).

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5. No Further Charges

If the Court accepts this plea agreement, the United States
Attorney's Office for the Middle District of Florida agrees not to charge
defendant with committing any other federal criminal offenses known to the
United States Attorney's Office at the time of the execution of this agreement,
related to the conduct giving rise to this plea agreement.
6. Guidelines Sentence
Pursuant to Fed. R. Crim. P. 11()()), the United States will
recommend to the Court that the defendant be sentenced within the
defendant’s applicable guidelines range as determined by the Court pursuant
to the United States Sentencing Guidelines, as adjusted by any departure the
United States has agreed to recommend in this plea agreement. The parties
understand that such a recommendation is not binding on the Court and that,
if it is not accepted by this Court, neither the United States nor the defendant
will be allowed to withdraw from the plea agreement, and the defendant will
not be allowed to withdraw from the plea of guilty.
7. Acceptance of Responsibility - Three Levels
At the time of sentencing, and in the event that no adverse

information is received suggesting such a recommendation to be unwarranted,

 

the United States will recommend to the Court that the defendant receive a

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two-level downward adjustment for acceptance of responsibility, pursuant to
USSG § 3E1.1(a). The defendant understands that this recommendation or
request is not binding on the Court, and if not accepted by the Court, the
defendant will not be allowed to withdraw from the plea.

Further, at the time of sentencing, if the defendant's offense level
prior to operation of subsection (a) is level 16 or greater, and if the defendant
complies with the provisions of USSG § 3E1.1(b) and all terms of this Plea
Agreement, including but not limited to, the timely submission of the financial
affidavit referenced in Paragraph B.5., the United States agrees to file a motion
pursuant to USSG § 3E1.1(b) for a downward adjustment of one additional
level. The defendant understands that the determination as to whether the
defendant has qualified for a downward adjustment of a third level for
acceptance of responsibility rests solely with the United States Attorney for the
Middle District of Florida, and the defendant agrees that the defendant cannot
and will not challenge that determination, whether by appeal, collateral attack,
or otherwise.

8. Low End

At the time of sentencing, and in the event that no adverse

information is received suggesting such a recommendation to be unwarranted,

the United States will recommend to the Court that the defendant receive a

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sentence at the low end of the applicable guideline range, as calculated by the
Court. The defendant understands that this recommendation or request is not .
binding on the Court, and if not accepted by the Court, the defendant will not
be allowed to withdraw from the plea.
9, Forfeiture of Assets

The defendant agrees to forfeit to the United States immediately
and voluntarily any and all assets and property, or portions thereof, subject to
forfeiture, pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), whether in
the possession or control of the United States, the defendant or defendant's
nominees.

The assets to be forfeited specifically include, but are not limited
to, the following: (1) a Hi Point model CF-380 .380 caliber pistol; and (2) a Hi

Point/Stallard/Maverick model JS-9 9mm pistol.

 

The defendant agrees and consents to the forfeiture of these assets
pursuant to any federal criminal, civil judicial or administrative forfeiture
action. The defendant also agrees to waive all constitutional, statutory and
procedural challenges (including direct appeal, habeas corpus, or any other
means) to any forfeiture carried out in accordance with this Plea Agreement on
any grounds, including that the forfeiture described herein constitutes an

excessive fine, was not properly noticed in the charging instrument, addressed.

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by the Court at the time of the guilty plea, announced at sentencing, or
incorporated into the judgment.

The defendant admits and agrees that the conduct described in the
Factual Basis below provides a sufficient factual and statutory basis for the
forfeiture of the property sought by the government. Pursuant to Rule
32.2(b)(4), the defendant agrees that the preliminary order of forfeiture will
satisfy the notice requirement and will be final as to the defendant at the time it
is entered. In the event the forfeiture is omitted from the judgment, the
defendant agrees that the forfeiture order may be incorporated into the written
judgment at any time pursuant to Rule 36.

The defendant agrees to take all steps necessary to identify and
locate all property subject to forfeiture and to transfer custody of such property
to the United States before the defendant’s sentencing. The defendant agrees to
be interviewed by the government, prior to and after sentencing, regarding such
assets and their connection to criminal conduct. The defendant further agrees
to be polygraphed on the issue of assets, if it is deemed necessary by the United
States. The defendant agrees that Federal Rule of Criminal Procedure 11 and
USSG § 1B1.8 will not protect from forfeiture assets disclosed by the defendant

as part of the defendant’s cooperation.

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‘The defendant agrees to take all steps necessary to assist the
government in obtaining clear title to the forfeitable assets before the
defendant’s sentencing. In addition to providing full and complete information
about forfeitable assets, these steps include, but are not limited to, the surrender
of title, the signing of a consent decree of forfeiture, and signing of any other
documents necessary to effectuate such transfers. To that end, the defendant
agrees to make a full and complete disclosure of all assets over which defendant
exercises control directly or indirectly, including all assets held by nominees, to
execute any documents requested by the United States to obtain from any other
parties by lawful means any records of assets owned by the defendant, and to
consent to the release of the defendant’s tax returns for the previous five years.
The defendant agrees to be interviewed by the government, prior to and after
sentencing, regarding such assets and their connection to criminal conduct.

The defendant agrees that the United States is not limited to
forfeiture of the property specifically identified for forfeiture in this Plea
Agreement. If the United States determines that property of the defendant
identified for forfeiture cannot be located upon the exercise of due diligence; has
been transferred or sold to, or deposited with, a third party; has been placed
beyond the jurisdiction of the Court; has been substantially diminished in value;

or has been commingled with other property which cannot be divided without

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difficulty; then the United States shall, at its option, be entitled to forfeiture of
any other property (substitute assets) of the defendant up to the value of any
property described above. The Defendant expressly consents to the forfeiture
of any substitute assets sought by the Government. The defendant agrees that
forfeiture of substitute assets as authorized herein shall not be deemed an
alteration of the defendant's sentence.

Forfeiture of the defendant's assets: shall not be treated as
satisfaction of any fine, restitution, cost of imprisonment, or any other penalty
the Court may impose upon the defendant in addition to forfeiture.

The defendant agrees that, in the event the Court determines that
the defendant has breached this section of the Plea Agreement, the defendant
may be found ineligible for a reduction in the Guidelines calculation for
acceptance of responsibility and substantial assistance, and may be eligible for
an obstruction of justice enhancement.

The defendant agrees that the forfeiture provisions of this plea
agreement are intended to, and will, survive the defendant, notwithstanding the
abatement of any underlying criminal conviction after the execution of this
agreement. The forfeitability of any particular property pursuant to this
agreement shall be determined as if the defendant had survived, and that

determination shall be binding upon defendant’s heirs, successors and assigns

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until the agreed forfeiture, including satisfaction of any preliminary order of
forfeiture for proceeds.
10. Abandonment of Property - Firearms and Ammunition

The United States of America and defendant hereby agree that
any firearm and/or ammunition as defined in 18 U.S.C. § 921, seized from
defendant and currently in the custody and/or control of the Bureau of
Alcohol, Tobacco and Firearms, were properly seized and are subject to
forfeiture to the government according to 18 U.S.C. § 924(d) and/or that the
firearms and ammunition constitute evidence, contraband, or fruits of the
crime to which he has pled guilty. As such, defendant hereby relinquishes all
claim, title and interest he has in the firearms and ammunition to the United
States of America with the understanding and consent that the Court, upon
approval of this agreement, hereby directs the Bureau of Alcohol, Tobacco
and. Firearms, or other appropriate agency, to cause the firearms and/ or
ammunition described. above to be destroyed forthwith without further
obligation or duty whatsoever owing to defendant or any other person.

As part of the plea agreement in this case, defendant in this case
hereby states under penalty of perjury that he is the sole and rightful owner of
the property, and that defendant hereby voluntarily abandons all right and

claim to the following: (1) a Hi Point model CF-380 .380 caliber pistol; (2) a

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Hi Point/Stallard/Maverick model JS-9 9mm pistol; (3) a Titan MFG model
Titan .25 caliber pistol; and (4) a Beretta model 1934 .32 caliber pistol.
B. Standard Terms and Conditions

1, Restitution, Special Assessment and. Fine

The defendant understands and agrees that the Court, in addition

 

to or in lieu of any other penalty, shall order the defendant to make restitution
to any victim of the offense(s), pursuant to 18 U.S.C. § 3663A, for all offenses
described in 18 U.S.C. § 3663A(c)(1); and the Court may order the defendant
to make restitution to any victim of the offense(s), pursuant to 18 U.S.C. §
3663, including restitution as to all counts charged, whether or not the |
defendant enters a plea of guilty to such counts, and whether or not such
counts are dismissed pursuant to this agreement. The defendant further
understands that compliance with any restitution payment plan imposed by
the Court in no way precludes the United States from simultaneously pursuing
other statutory remedies for collecting restitution (28 U.S.C. § 3003(b)(2)),
including, but not limited to, garnishment and execution, pursuant to the
Mandatory Victims Restitution Act, in order to ensure that the defendant’s

restitution obligation is satisfied.

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On each count to which a plea of guilty is entered, the Court
shall impose a special assessment pursuant to 18 U.S.C. § 3013. The special
assessment is due on the date of sentencing.

The defendant understands that this agreement imposes no
limitation as to fine.

2. Supervised Release

The defendant understands that the offense(s) to which the
defendant is pleading provide(s) for imposition of a term of supervised release
‘upon release from imprisonment, and that, if the defendant should violate the
conditions of release, the defendant would be subject to a further term of
imprisonment.

3. Immigration Consequences of Pleading Guilty

The defendant has been advised and understands that, upon
conviction, a defendant who is not a United States citizen may be removed
from the United States, denied citizenship, and denied admission to the
United States in the future.

4, Sentencing Information

The United States reserves its right and obligation to report to the

Court and the United States Probation Office all information concerning the

background, character, and conduct of the defendant, to provide relevant

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factual information, including the totality of the defendant's criminal activities,
if any, not limited to the count(s) to which defendant pleads, to respond to
comments made by the defendant or defendant's counsel, and to correct any
misstatements or inaccuracies. The United States further reserves its right to
make any recommendations it deems appropriate regarding the disposition of
this case, subject to any limitations set forth herein, if any.
5. Financial Disclosures

Pursuant to 18 U.S.C. § 3664(d)(3) and Fed. R. Crim. P.
32(d)(2)(A)(ii), the defendant agrees to complete and submit to the United
States Attorney's Office within 30 days of execution of this agreement an
affidavit reflecting the defendant's financial condition. The defendant
promises that his financial statement and disclosures will be complete, |
accurate and truthful and will include all assets in which he has any interest or
over which the defendant exercises control, directly or indirectly, including
those held by a spouse, dependent, nominee or other third party. The
defendant further agrees to execute any documents requested by the United
States needed to obtain from any third parties any records of assets owned by
the defendant, directly or through a nominee, and, by the execution of this
Plea Agreement, consents to the release of the defendant's tax returns for the

previous five years. The defendant similarly agrees and authorizes the United

 

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States Attorney's Office to provide to, and obtain from, the United States
Probation Office, the financial affidavit, any of the defendant's federal, state,
and local tax returns, bank records and any other financial information
concerning the defendant, for the purpose of making any recommendations to
the Court and for collecting any assessments, fines, restitution, or forfeiture
ordered by the Court. The defendant expressly authorizes the United States
Attorney's Office to obtain current credit reports in order to evaluate the
defendant's ability to satisfy any financial obligation imposed by the Court.
6. Sentencing Recommendations

It is understood by the parties that the Court is neither a party to
nor bound by this agreement. The Court may accept or reject the agreement,
or defer a decision until it has had an opportunity to consider the presentence
report prepared by the United States Probation Office. The defendant
understands and acknowledges that, although the parties are permitted to.
make recommendations and present arguments to the Court, the sentence will
be determined solely by the Court, with the assistance of the United States
Probation Office. Defendant further understands and acknowledges that any
discussions between defendant or defendant's attorney and the attorney or
other agents for the government regarding any recommendations by the

government are not binding on the Court and that, should any

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recommendations be rejected, defendant will not be permitted to withdraw
defendant's plea pursuant to this plea agreement. The government expressly
reserves the right to support and defend any decision that the Court may make
with regard to the defendant's sentence, whether or not such decision is
consistent with the government's recommendations contained herein.

7. Defendant's Waiver of Right to Appeal the Sentence

The defendant agrees that this Court has jurisdiction and

authority to impose any sentence up to the statutory maximum and expressly
waives the right to appeal defendant's sentence on any ground, including the
ground that the Court erred in determining the applicable guidelines range
pursuant to the United States Sentencing Guidelines, except (a) the ground
that the sentence exceeds the defendant's applicable guidelines range as
determined by the Court pursuant to the United States Sentencing Guidelines;
(b) the ground that the sentence exceeds the statutory maximum penalty; or (c)
the ground that the sentence violates the Eighth Amendment to the
Constitution; provided, however, that if the government exercises its right to
appeal the sentence imposed, as authorized by 18 U.S.C. § 3742(b), then the
defendant is released from his waiver and may appeal the sentence as

authorized by 18 U.S.C. § 3742(a).

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8. Middle District of Florida Agreement
It is further understood that this agreement is limited to the
Office of the United States Attorney for the Middle District of Florida and
cannot bind other federal, state, or local prosecuting authorities, although this
office will bring defendant's cooperation, if any, to the attention of other
prosecuting officers or others, if requested.
9. Filing of Agreement
This agreement shall be presented to the Court, in open court or
in camera, in whole or in part, upon a showing of good cause, and filed in this
cause, at the time of defendant's entry of a plea of guilty pursuant hereto.
10. Voluntariness
The defendant acknowledges that defendant is entering into this
agreement and is pleading guilty freely and voluntarily without reliance upon
any discussions between the attorney for the government and the defendant _
and defendant's attorney and without promise of benefit of any kind (other
than the concessions contained herein), and without threats, force,
intimidation, or coercion of any kind. The defendant further acknowledges
‘defendant's understanding of the nature of the offense or offenses to which
defendant is pleading guilty and the elements thereof, including the penalties

provided by law, and defendant's complete satisfaction with the representation

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and advice received from defendant's undersigned counsel (ifany). The
defendant also understands that defendant has the right to plead not guilty or
to persist in that plea if it has already been made, and that defendant has the
right to be tried by a jury with the assistance of counsel, the right to confront
and cross-examine the witnesses against defendant, the right against
compulsory self-incrimination, and the right to compulsory process for the
attendance of witnesses to testify in defendant's defense; but, by pleading
guilty, defendant waives or gives up those rights and there will be no trial.
The defendant further understands that if defendant pleads guilty, the Court
may ask defendant questions about the offense or offenses to which defendant
pleaded, and if defendant answers those questions under oath, on the record,
and in the presence of counsel (if any), defendant's answers may later be used
against defendant in a prosecution for perjury or false statement. The
defendant also understands that defendant will be adjudicated guilty of the
offenses to which defendant has pleaded and, if any of such offenses are
felonies, may thereby be deprived of certain rights, such as the right to vote, to
hold public office, to serve on a jury, or to have possession of firearms.
11. Factual Basis
Defendant is pleading guilty because defendant is in fact guilty.

The defendant certifies that defendant does hereby admit that the facts set

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forth below are true, and were this case to go to trial, the United States would
be able to prove those specific facts and others beyond a reasonable doubt.
FACTS
On December 7, 2017, the defendant met an undercover Bureau of
Alcohol, Tobacco, Firearms, and Explosives (ATF) agent and an ATF
confidential informant, another man, and woman at a hotel in New Port
Richey, Florida, within in the Middle District of Florida. Ruth walked into the
room and placed a Hi Point model CF-380 .380 caliber pistol and a Hi
Point/Stallard/Maverick model JS-9 9mm pistol on the bed in front of the
undercover agent. The defendant sold the firearms to the undercover agent.
The firearms were not manufactured in Florida. Accordingly, they
traveled in interstate or foreign commerce prior to recovery from the
defendant in Florida on December 7, 2017.
Prior to the transaction described above, the defendant had been
convicted and knew that he had been convicted of the following felonies:
a. Possession of a Controlled Substance, on or about January 8,
2015; and
b. Burglary of a Building, on or about April 24, 2014.
When the defendant possessed the above-referenced pistol, his right to

own, possess, or use a firearm had not been restored.

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The above is merely a brief summary of the events, some of the persons
involved, and other information relating to this case. It does not include, nor
is it intended to include, all of the events, persons involved, or other
information relating to this case.

12. Entire Agreement

This plea agreement constitutes the entire agreement between the
government and the defendant with respect to the aforementioned guilty plea
and no other promises, agreements, or representations exist or have been

made to the defendant or defendant's attorney with regard to such guilty plea.

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13. Certification
The defendant and defendant's counsel certify that this plea
agreement has been read in its entirety by (or has been read to) the defendant
and that defendant fully understands its terms.

DATED this 247" day of Sepembe , 2020.

 

 

MARIA CHAPA LOPEZ
L United States Attorney
Justin Ruth Charlie D. Connally a

Defendant Assistant United States Attorney

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Wes Trombley Christopher F. Murray

Attorney for Defendant Assistant United States Attorney
Chief, Violent Crimes and

Narcotics Section

 

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